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                                                                        ~~~
         5 .Attorneys for Plaintiffs ~                                                                      ~'~~~          r
            RAYMUND ARRETCHE AND STEVE HOBB ~ `~                                  `-'~~,          I                ~.
         6                                                                                        ~
                                                                                                            ►~~.~
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         7                                                                                                     ~~
                                        UNITED STATES DISTRICT COURT
         8
                 CENTRAL DISTRICT OF CALTFOItNIA, EASTERN DIVISION
         9
           RAYMOND ARRETCHE and S        Case No..;
        1U HOBB,
        ~~                Plaintiffs,                            COMPLAINT FOR DAMAGES
                                                                                                                           J
        12                                                       AND INJiJNCTIVE RELIEF FOflt
                                                                 VIOLATION OF INDIVID~JAL
        13           v.                                          CIVIL RIGI~TS AND LIBERTIES,
                                                                 WITH SUPPLEMENTAL STATE
        14 ' CITY OF BBAUMONT A Munic~ipal                       LAW CLAIMS;
            Cor~oration• CITY OF ~EAUMONT
        15  POLICE DEPARTMENT A                                    42 USC 1983; Cal. Const. Art. I, &§
            ~ ~epartment Thereof; PATRICK A.
            D                                                        and 3; ~al forma Government Code
        16 ,SMITH, Individually and as Chief of                    ~~ .3:302, .3'309;5, 3502.1 3506, 3502
        17
            Beaumont Police Department,                          ~   08; California Labor Geode §§ 110 ,
                                                                  1102, 1102.5]
        18                Defendants.
                                                                 DEMAND FOR JURY TRIAL
                                                                 F.R. Civ. P. Rule 38; C.D. Cal. Local
        19
        20
                                                                 ~ule 3.8-1]

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        23                                                                                   .,
                                                            I.
        24
                                                    PREFATORY
        25
                     1.       This is an action for damages and injunctive relief for :personal injury
        6
              suffered by Plaintiffs Raymond Arretche and Steve Hobb as a result of the
        7
              wrongful retal~iati~on for the lawfu`1 exercise of individual civil rights end liberties
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                                                COMPLAINT FOR DAMAGES                      ~~~         pin ~ n
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                       ~;;; ;           9/1f2~85 18:22.6 Ap Recei t #: 3F146
                                    ~~      'L'ashier : LP~lRRAY tRS ~-i]
                       '~          :laid by: LR4KIE AND DRI414E1ER LLP
                                       .CV65-0b581
                -_ ~                   @05-8~69bd       5 -Civil~Filinq Fee(1)
                ' ~               . Aaaurit :                             $60.0D
               t_               ':~ 2:CVF1S-8581
    .           "'              ~: 285-516d6~          11 - Special Fund F/F(1)
                                      Aaount :                          (130.88
        '~   1. ~~`~       ~      -~ Check.Pay~ent : SP53 /               X58.02
                                      Total Paysent :                     254.8
                                                                                   Case 2:05-cv-06581-RJK-VBK Document 1 Filed 09/07/05 Page 2 of 10 Page ID #:62
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 1        free expression and association, labor organizational., and social and political
 2 activities.
 3                                                  II.
 4                                  JIJR~ISDICTION AND VEN~TE
 5              2:     Subject matter jurisdiction is conferred by 28 USC §§ 1331 (Federal
 6        question) and 1343[3](Civil Rights). Federal supplemental jurisdiction over the
 7        state law claims is conferred by 28 U.SC § 1367. - Venue is proper in the Central
 8        District of California in that the wrongs alleged herein occurred within the-City of
 9        Beaumont, County of Riverside, within the Central District.                            _
10                                                 III.
T1                                              PARTIES
1.2             3.     Plaintiffs RAYMOND ARRETCHE("Arretche").and STEVE HOBB
1'3 ("Hobb")were employed as Police Officers for the City ofBeaumont at all times
14        relevant to the allegations herein. Arretche and Hobb were.members ofthe
15        Beaumont Police Officers Association and served as President and Vice-president
16        ofthe Association Board of Directors, respectively. Arretche and Hobb held their
I7        positions as vested and substantial property rights, not to be removed., suspended,
18        or reduced in their positions, salary, or benefits, except for cause.. Arretche and
19        ~ obb are enritled to the protections ofthe Public Safety Procedural Biil of Rights
          H
20        Act. (Government Code §§ 3300, et seq~.). At all times relevant, Arretche and
21'       Hobb were representative members ofthe Beaumont Police Officers Association
      r
22 ("Assoc anon"). The Associ~arion is anon-profit mutual benefit association
23        organized under the authority of the Meyers-Milian-Brown Act.(Government Code
24        §§35'00 et seq.)composed ofPolice Officers for the City of Beaumont. The
25        Association is organized pursuant to California Government Code § 3502., and is
26        the recognized bargaining unit for Police Officers within the Beaumont Police
27        Department. In doing the things alleged herein, P~l~aintiffs were acting on behalfof
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                                          COMPLAINT FOR DAMAGES
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                                  C J                                •



 1 1 ~ the Association when undertaking the political and representarional activities
 2         described herein.
 3               4.     Defendant City of Beaumont("City")is a duly constituted municipal
 4         corporation operaring under the laws of the State of California. Defendant
 5 Beaumont Police Department("Department")is an operating Department within
 6         the City. At all times ~rel~evan~t herein, for all purposes connected with the
 7         management ofemployment relations matters within the Department, Defendant
 8 City delegated its official policy-making authority to Defendant Patrick A. Smith
 9         and adopted and ratifed each ofthe decisions ofDefendant Smith as alleged herein
10         as its own ,policies, customs,.pracrices or decisions, as if the same had been
11         promulgated directly by the City, except as expressly appears herein to :the
12         contrary.
13               5.     Defendant PATRICK A. SMITH ("Smith") was at all times relevant,
14         as he is now,the Chief ofPolice ofthe Department. Smith is sued individually anc
15         in his official capacity as ChiefofPolice of the City of Beaumont. In doing the
16 ~ things alleged herein, Smith acted under color of state law, within the course and
17         scope of his employment, and as ari official policy-maker ofthe City ofBeaumont.
18         Srruth is a Department Head and official of the Defendant City ofBeaumont,
19 ~~ vested with. policy-mak~i~ng aufihori~ty over personnel actions such as the ones at
20 'issue in this complaint.
21               6.     Defendants, and each ofthem, was the agent, employee and servant
       i
22         every other Defendant, Defendants- acted in the course and scope ofsaid agency,
23 '~ service and employment at. all relevant times.
24 .                                                 gV.
25                               FACTS COMMON TO ALL COUN'~S
26 ~ //
27 ~ //
28 ~ //



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                                            COMPLAINT FOR DAMAGES
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                                                            1 5 of 10 Page ID #:65
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 1                                  The Protected Activities
 2          7.     As Association President and Viee-president, Plaintiffs have made
 3 numerous statements critical of the Defendants'(particu~l~arly Defendant Smith's)
 4 management practices and policies.
 5          8.     In or around December 2004;,Plaintiffs Arretche and Ho~bb initiated a
 6 successful vote on the - part ofthe Beaumont Police Officers Association to rescind
 7 endorsement of Defendant Smith to serve on a committee of California's Peace
 8 Officer Standards and Training(POST). The vote was unanimous. As a result of
 9 the lack of support for Chief Smith, a letter was written to POST explicitly setting
10 forth the Association's Iaek of support and revoking their endorsement. Two
11    weeks after the letter was'sent to POST,the Association forwarded a copy to Chief
12 Smith, the City Manager and the City Council. However,Defendant Smith was
1.3 immediately informed about the vote and the revocation prior to the Beaumont
14 Police Officers Association forwarding their letter to POST.
15          9.     In or around December 2004, Arretche and Hobb,in their
16 representarive capacity and at an Association meeting, were successful in obtaining
17 Association support to .bring attention to what was believed to be wrongful, unfair,
18 and highly suspect promotional pracrices ofDefendant Smith. As a result of
19 obtaining Association support, Arretche and Hobb sought a meeting with the City
20 Manager to highlight significant problems within the department that seriously
21    undermined officer morale and affected officer efficacy. Specifically, Arretche
22 and Hobb sought to address concerns as to a Police Sergeant who had recently
23    been investigated, both administratively and criminally, for discharging a firearm
24 ~ off duty, which the Department administration sought to "cover up" and"refused to
25 filecriminal charges. Department morale thereafter diminished further when,
26 despite the aforementioned, this Police Sergeant was subsequently promoted to
27 Lieutenant within half a year. Plaintiffs, on behalf of the Associ-ation, thereafter
28 sought to identify and "bring to light" the disparate treatment with respect to this


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 1    Police Sergeant, since other officers had committed less serious offenses, but had
 2    been subjected to much more severe discipline as a result. The meeting was
 3    scheduled with the City Manager for January 6,2005, but was cancelled
 4    unilaterally by the City Manager shortly before.
 5                                 Adverse Employment Actions
 6           10.    On January 10, 2005,Plaintiffs were placed on administrative leave
 7    pending an internal affairs investigation for "potentially serious and disruptive
 8    misconduct." Defendants' internal affairs investigation is currently ongoing, and
 9    has amounted to nothing more than a"fshying expedition" in hopes oflocating
10    even the appearance ofimpropriety upon which Defendants can form the basis of
11    discipline; when in fact, said investigation was initiated solely.in retaliation for
12    Plaintiffs' actions as alleged herein.
13           12.    Defendants' internal affairs invesrigation has been, and remains
14    completely pretextual as evidenced by the:generalized, far-reaching,:and non-
15    specific nature ofthe questions:posed throughout the course of the investigative
16    interviews. Furthermore,investigators have intruded upon confiden~rial
17    Association business seeking information not relevant to the internal affairs
18    invesrigation.
19           13..   As a result ofthe unnecessarily protracted internal affairs
20    investigation, an in recogniri'on of its clear retaliatory basis., Defendants conduct
21 ; effectively forced Plaintiffs to resign.. On or about April 25, 2005,Plaintiffs were
22    constructively discharged as police officers with the Beaumont Police Department.
23    As ofthe date ofthis filing, Plaintiffs have not been made aware ofthe status of
24    the pending internal affairs investigation.
25                                               V.
26                  GOVERNMENTAL TORT CLAIM CO1VgPLIANCE
27           14.    Although a tort claim need not be filed in civil rights action, Plaintiffs
2'8 ~ filed a tort claim.pursuant to Government Code §:§910 et seq. on January 24, 2005.



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                                       COMPLAINTFOR DAMAGES
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 1     No response was received from the Defendants, and pursuant to Cal. Government
 2     Code §912.4(c), the claim was considered rejected on March 1U, 2005. Plaintiffs
 3 ,have complied with all other conditions precedent to the maintenance ofthis
 4     action.
 5            15.    Plaintiffs have no plain, speedy, nor adequate remedy at law to
 6     prevent future v~iolat~ions oftheir civil rights, and therefore seek extraordinary
 7     in the form of permanent injunctions, as hereafter described.
 8                                               VI.
 9                                         COUNT ONE
10                         42 USC § 1983 —Against all Defendants
11            16..   In doing the things alleged herein, Defendants,and each ofthem,
12     violated the rights ofPlaintiffs Arretche and Hobb under the First and Fourteenth
13     Amendments to the United States Constitution. The acts and omissions of
14     Defendants,and each ofthem, were done by Defendants under color of state law in
15     tfiei~r capacity as a municipality chartered under state law, and as policy making
16     authorities to which Defendant City delegated its governing powers in the subject
17 :matter areas iri which these policies were promulgated or decisions taken or
18 `customs and practices followed. The acts and omissions of Defendants as alleged
19     herein manifested or conformed to official .policies, customs, practices, or
20     decisions of Defendant City, in that.City delegated to Defendant Smith its policy
21     making authority in all matters ofemployment relations within the Beaumont
22     Police Deparhnent, and/or Defendant City, with knowledge of the afore° said
23     policies, customs, practices and decisions of Defendant Smith, approved, ratified
24     and adopted said policies, customs, pracrices and decisions. Specifically,
25     Defendant Smith, at all times relevant to the allegations herein, maintain final
26     policy making authority with respect to internal affairs investigations into
27     Department officer. It was or should have been plainly obvious to any reasonable
2"8    policy making official of Defendant City that the acts and omissions ofDefendants


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 1    as alleged herein, taking singly or in conjunction, directly violated and continued
 2 ~to violate plaintiffs clearly established constitutional' and statutory rights. In doing
 3    the things alleged herein, Defendants acted with malicious intent to violate these        ~~
 4    Plai-ntiffs' rights, or at least in~ conscious, reckless, and callous disregard of
 5 ;Plaintiffs' rights and to the injurious consequences likely to result from a violation
 6    ofsaid rights. General, special, and exemplary damages are sought according to
 7    proof. Punitive damages are sought oril4y against Defendant Smith according to
 8    proof. Injunctive relief is sought to command Defendants to reinstate Plaintiffs to
 9    their positions within the City, to cease and desist from.continuing with the
10    aforementionedinternal affairs investigation, and to remove and expunge from
11    their personnel files)any -and all documents that make mention or reference sa~i~d
12    invesrigaton..
13           17.    Plaintiffs have suffered mental anguish, humiTi~ation and emotional
14' ~~ distress as a consequence of Defendants' conduct and economic damages
15 ~ according- to proof at trial..
16                                               VII.
17~                                        CO~JNT TWO
18`                    Supplemental State Claims —Against All. Defendants
19~          18.    Ian doing the things alleged herein, Defendants violated the rights of
20 Plaintiffs under CaYifornia Labor Code §1' 102 by attempting to influence or coerce
21    political activity. by retaliating against Plaintiffs for seeking a vote to revoke POST
22    endorsement of Defendant Smith and for calling into quesrion Department
23    promotional practices. Defendants further violated Labor Code §110 T by
24    controlling and directing, or tending to control or direct the polirical acrivities or
25    affil~ations~ ofits employees by retaliating against Plaintiffs for seeking a vote to
26 'revoke POST endorsement of Defendant Smith and for calling into question
27 Deparhnent promotional practices. Defendants further violated Labor Code
28




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        Case 2:05-cv-06581-RJK-VBK Document 1 Filed 09/07/05 Page 9 of 10 Page ID #:69



  1      §1102.5 by retaliating against Plaintiffs for disclosing information to the City that
 2       the Plainriffs reasonably believed constituted violations ofstate or federal.
 3              19.   In doing the things alleged herein, Defendants violated the rights of
 4 Plaintiffs under California Government Code §§3302, 3309.5 which prohibit a
 5       public safety employer from interfering with political activities of its public safety
 6       officers. Defendants further violated Government Code §3502.1 by taking
 7 'punitive action against Plaintiffs for lawful union acrivity, including initiating a
 8 ~ union vote on Association support ofthe Chief of Police and addressing
 9 ;Association concerns with the. City Manager. Defendants further violated
l0       Government Code §§3502,3506 by interfering. with,intimidating, restraining,
11       coercing or discriminating against Plaintiffs because of their exercise oftheir
12 .~l~awfu~l rights to form,join, and participate ~in employee organizarions. Defendants
1.3 ;further violated Government Code §3.508 by prohibiting Plaintiffs from
14 'participating in employee organizations composed solely ofpeace officers.
15             20.    In doing the things alleged herein, Defendants violated the rights of
16 ~Pl~aintiffs under the California Constitution, Article I, §§'2, 3,.by restraining         _
17 'Plaintiffs' liberty ofspeech and assembly by placing Plaintiffs on administrative
18       1'eave pending an internal.affairs investigation without basis and solely in
19' retaliation for engaging the aforementioned acts offree speech.
20 ~.                                              VIII.
21 ,                                            PRAYER
22       WHEREFORE,Plaintiffs pray:
23             1.     For general, special, exemplary and punitive damages according to
24                    proof;
25             2.     For injunctive relief;
26             3.     For costs of suit;
27             4.     For attorneys fees under 42 I1SC §1.988 and otherwise as permitted by
28                    law; and


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                                           COMPLAINT FOR DAMAGES
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 1 1          5.    For other appropriate relief.
 2
 3      ~ Dated: August 26,2005                         Respectfully Submitted,
 4                                                      LACKIB & DAMMEIER LLP
 5
                                                                   ~.
 6
                                                         ichael A. McGill
 7'                                                     Attorneys for Pl-ainriffs,
                                                        RAYMOND ARRETCHE and
 g l                                                    STEVE HOBB
 9
lU                                    DEMANID FOR J~JRY
11
              Pl~ai~ntiffs hereby demand ajury trial under F.R..Civ. P., Rule 3:8 and C.D.
12
        Cal. Rule 38-1,
13
14
        Dated this 26`h day of August,2005.
1:5
                                                        Respectfully submitted,
16
17'                                                     LACKIE & DAMMEIER LLP
18 ,
19 .I                                                   Michael A. McGill
20                                                      Attorneys for Plaintiffs,
                                                        RAYMOND ARRETCH'E and
21
                                                        STEVE HOBB
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                                       COMPLAINT FOR DAMAGES
